      Case 1:22-cr-20009-BB Document 9 Entered on FLSD Docket 01/20/2022 Page 1 of 1

                                        M IN UT E O R D ER                                          Page2
                                M agistrate Judge Lauren F.Louis
                AtkinsBuildingCourthouse-11thFloor                      Date:1/20/22   Time:10:00a.m.
Defendant: SergioRomero                J#:02651-506         Case#: 22-20009-CR-BLOOM/OTAZO-REYES
AUSA: Shane Butland                                   Attorney: M ICHAELD.GELETY
violation: DIST/RECEIPT/POSSOFCHILD PORNOGRAPHY           surr/ArrestDate:       YOB:

Proceeding: ARRAIGNM ENT                                         CJA Appt:
Bond/PTD Held:C Yes C No               Recom mended Bond:
Bond Setat:PTD                                                   Co-signed by:
 j
 -- surrenderand/ordonotobtainpassports/traveldocs                    Language: English

 (.
  -- ReporttoPTSasdirected/or        x'saweek/monthby                  Disposition'
                                                                                  .
     phone:      x'saweek/monthinperson                                          .
    Random urine testing by Pretrial
 f- Services                                                           through appeal
     Treatm ent as deem ed necessary
 1-- Refrainfrom excessiveuseofalcohol                                 Reading oflndictm entW aived
 Nr Participateinmentalhealthassessment&treatment                      NotGuiltypleaentered
 1- Maintainorseekfull-timeemployment/education                        lurytrf//dem anded
 r- Nocontactwithvictims/witnesses,exceptthroughcounsel                Stunding D'SCOFeI-F Orderrequested
 1- No firearms
 1- Notto encumberproperty                                             eBrad warnin       iven*
 1-- M ay notvisittransportation establishments
 f- Homeconfinement/ElectronicMonitoringand/or
     Curfew             pm to           am ,paid by
 L' Allowances:M edicalneeds,courtappearances,attorneyvisits,
     religious,em ploym ent
 17 Travelextended to:                                                  Ti
NV   other:
                                                                         mefromtodayto
                                                                        from speedyTrialclock
                                                                                                  excluded
NEXT COURT APPEARANCE   Date:           Tim e:          Judge:                         Place:
Report RE Counsel:
PTD/BondHearing:
Prelim/ArraignorRemoval:
Status Conference RE:
D.A.R. 10:11:05                                              Tim e in Court: 4 m ins
                                 s/Lauren F.Louis                                     M agistrateJudge
